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                EXHIBIT D
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                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA

 ELIZABETH SINES et al,                              CASE NO: 3:17cv00072
                                                     (J. Moon, Magistrate J. Hoppe)
               Plaintiffs

 vs.

 JASON KESSLER et al.,

               Defendants

       AMENDED INITIAL DISCLOSURES OF CERTAIN DEFENDANTS



      Now come Defendants Jason Kessler, Christopher Cantwell, Vanguard America, Robert
Ray, Nathan Damigo, Elliott Kline, Identity Evropa, Matthew Heimbach, Matthew Parrott,
Traditionalist Worker Party, Jeff Schoep, National Socialist Movement, and Nationalist Front,
through counsel, and make the following Initial Disclosures:

A.             Individuals likely to have discoverable information that defendant
               may use to support his defenses:

               1. All parties to this action;
               2. Anyone listed on any parties initial Disclosures;
               3. Det. Wendy Lewis, Charlottesville VA Police Department
               4. Currently unidentified members of the Charlottesville VA Police
                  Department;
               5. Ms. Nina-Alice Antony, Commonwealth’s Attorney’s Office Room 331,
                  City Hall, Charlottesville VA, 22902
               6. Currently unidentified members of the Virginia State Police
               7. Currently unidentified members of the Virginia National Guard
               8. Currently unidentified first responders from Charlottesville VA and it’s
                  vicinity;
               9. Mayor Mike Signer, Charlottesville VA;
               10. Mr. Al Thomas, former Chief of Police, Charlottesville VA;
               11. Mr. Wes Bellamy, member of City Council, Charlottesville VA;
               12. Currently unidentified members or former members of the office of the
                  Governor of the Commonwealth of Virginia;
               13. Mr. Terry McAuliffe, former Governor of the Commonwealth of
                  Virginia.


               Each of the above witnesses may be called upon to testify as to his/her
knowledge of the facts, circumstances and allegations surrounding plaintiff's complaint,
including, but not limited to defendant's alleged actions and the actions of the plaintiffs.
This testimony may include, but may not be limited to, the fact and circumstances
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 surrounding the events which are the subject of this lawsuit. These individuals may also be
 requested to produce and identify documents which may be relevant to the issues in this case
 and to testify regarding policies and procedures.
                 Defendant reserves the right to call additional witnesses as may become
 known through discovery and reserves the right to call any witness disclosed by any other
 party.


B.             Defendants will or may rely upon the following documents:
              1. None other than to be used solely in rebuttal;
              2. Any documentary evidence disclosed by any other party.
        Defendants reserve the right to introduce into evidence any document identified by any
 party in disclosures or discovery.
C.     It is the position of the defendants that plaintiffs are not entitled to any damages.
D.     Insurance: N/A
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                                          Respectfully Submitted,

                                          s/ James E. Kolenich
                                          James E. Kolenich (0077084)
                                          9435 Waterstone Blvd. #140
                                          Cincinnati, OH 45249
                                          Telephone: 513-444-2150
                                          Facsimile: 513-297-6065
                                          Attorney for listed Defendants

                                          Email: jek318@gmail.com


                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was served via email on January 24, 2018,
upon: Christopher B. Greene, Esq., One of the Attorneys for Plaintiffs,
cgreene@kaplanandcompany.com


                                            s/James E. Kolenich
                                           James E. Kolenich
